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  October 14, 2024

  VIA E-Mail

  Hon. Freda L. Wolfson, U.S.D.J. (ret.)
  Lowenstein Sandler LLP
  One Lowenstein Drive
  Roseland, New Jersey 07068

                 Re:    Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                        No. 2:22-cv-02632 (JKS) (CLW)

  Dear Judge Wolfson:

         On behalf of Save On SP, LLC (“SaveOn”), we write in opposition to Plaintiff Johnson

  and Johnson Health Care Systems, Inc.’s (“JJHCS,” and, with its affiliates, “J&J”) motion to com-

  pel the addition of four new custodians.

         SaveOn has already designated 33 custodians, including its entire senior leadership. It has

  reviewed more than 1.2 million documents and produced more than 300,000, an effort costing tens
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  of millions of dollars. 1 J&J now demands that SaveOn run its full set of approximately 110 search

  terms over three new custodians’ files and a subset of those terms over one new custodian’s files.

  This request is unjustified. SaveOn has already produced documents from multiple custodians who

  worked on the topics that J&J raises, and J&J fails to substantiate its assertions that the custodians

  are likely to have unique documents on those topics. Your Honor should deny J&J’s fishing expe-

  dition.

  I.        Member and Patient Support Representatives and Supervisors

            J&J fails to show that Leslie Kauffman, Brandon Bartz, and Paula Mighells are likely to

  have unique, relevant information from their roles as Patient and Member Support Representatives

  (“PSRs”) and as PSR supervisors. 2 SaveOn has already produced documents from ten custodians

  employed as PSRs and PSR coaches, supervisors, and team leads, and in other roles in which they

  worked with and supervised PSRs:




  1
    J&J asserts that its motion should be granted in part because it has designated 45 custodians while
  SaveOn has designated 33. Mot. at 2. This is, charitably, nonsense. First, it is unsurprising that
  J&J, a massive enterprise, would have more custodians than SaveOn, a business with fewer
  than 300 employees. SaveOn was also structured so that a small number of employees worked on
  the topics at issue in this case; J&J, in contrast, was structured so that many dozens of its employees
  across numerous entities and groups worked on relevant issues. Second, 28 of SaveOn’s 33 custo-
  dians are full custodians, meaning that SaveOn has run approximately 110 search terms over their
  documents; only 18 of J&J’s custodians are full custodians, the other 27 are limited custodians for
  whom it ran narrow search terms targeted to the custodians’ work. These important distinctions
  partially explain why, to date, J&J has produced only 45,277 documents, fewer than one sixth of
  the over 300,000 documents that SaveOn has produced.
  2
   SaveOn previously used the term “Patient Support Representative” for employees who interface
  with patients. It later changed the title of the role to “Member Support Representative.” The terms
  are interchangeable. For consistency, SaveOn uses solely “Patient Support Representative” and
  “PSR” throughout this opposition. PSRs are employed by SaveOn to address patients’ questions
  and assist them in obtaining their medications at no cost.


                                                    2
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         •   Andrea Waker: PSR (2017-2019), see Ex. 1 at -116 (SOSP_0000114); PSR Team
             Lead 3 (2019-2021), see Ex. 2 at -141 (SOSP_0000137); Senior Team Lead (2021-
             2024), see Ex. 3 at PDF page 8 (SOSP_0000153);

         •   Jennifer Menz: PSR (2018-2019), see Ex. 4 at -122 (SOSP_0000121); PSR Team Lead
             (2019-2021), see Ex. 5 at -126 (SOSP_0000125); Pharmacy Relations Supervisor
             (2021-present), see Ex. 3 at PDF page 6 (SOSP_0000153);

         •   Brianna Reed: PSR (2019-2020), see, e.g., Ex. 6 (SOSP_0302534); PSR Supervisor
             (2020-2023), see Ex. 7 (SOSP_0686494); Ex. 8 (SOSP_0704569); Senior Pharmacy
             Relations (Billing) Manager (2023-present), see Ex. 9 (SOSP_1315736);

         •   Sarah Segerson: PSR (2019-2020), see, e.g., Ex. 10 at -812 (SOSP_0386810) (
                                                                        ; Quality Assurance Au-
             ditor (2020-2021), see Ex. 2 at -141 (SOSP__0000137); Quality Assurance Supervisor
             (2021-present), see Ex. 3 at PDF page 8 (SOSP_0000153);

         •   Ted Mighells: PSR (2020), see Ex. 11 (SOSP_0840241) (
                                                   ); PSR Supervisor (2020-2021), see Ex. 12
             (SOSP_0943830);

         •   Ayesha Zulqarnain: PSR (2018-2021), see Ex. 13 at -124 (SOSP_0000123); Pharmacy
             Support (2021-2022), see Ex. 14 at -134 (SOSP_0000133); Special Projects Coordina-
             tor (2022-current), see Ex. 3 at PDF page 2 (SOSP_0000153);

         •   Jillian Vincheski: PSR Supervisor (2018-2019), see Ex. 4 at -122 (SOSP_0000121); IT
             Security Analyst (2019-present), see Ex. 15 at -023 (SOSP_0711023);

         •   Nicole Haas: PSR Team Lead (2020), see Ex. 2 at -147 (SOSP_0000137); PSR Super-
             visor (2021-2022), see Ex. 16 at -349 (SOSP_0413349); Enrollment Manager (2022-
             present), see Ex. 17 at -889 (SOSP_0608889);

         •   Laura McClung: Denver Director of Member Services (2021-present), see Ex. 3 at PDF
             page 7 (SOSP_0000153); Ex. 18 (SOSP_0000001);

         •   Danielle Wagner: Call Center Director 2020-2021, see Ex. 2 at -139 (SOSP_0000137);
             Director of Member Services (2021-present), see Ex. 3 at PDF page 7
             (SOSP_0000153). 4




  3
    SaveOn previously used the term “Quad Coach” to refer to PSR Team Leads. The terms are
  interchangeable. For consistency, SaveOn uses solely “Team Lead” throughout this opposition.
  4
    The Directors of Member Services oversee all PSRs and their supervisors. See Ex. 3 at -159
  (SOSP_0000153).


                                                3
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  SaveOn has produced 49,508 documents from these ten custodians, from the full discovery period,

  almost a fifth of which mention Kauffman, Bartz, or Mighells.

          Kauffman’s, Bartz’s, and Mighells’s documents are likely duplicative of the tens of thou-

  sands of documents already produced from the other PSR custodians, because SaveOn’s PSRs

  and their supervisors worked closely together, see e.g., J&J Ex. 5 at -854 (

                                            ); J&J Ex. 8 at -363 (

                                                  ); J&J Ex. 31 (

                                                                          ); J&J Ex. 36 (

                         ), and frequently discussed their work in large group chats, see, e.g., J&J

  Ex. 3 (SOSP_1370342) (

      ); J&J Ex. 9 (SOSP_2389506)

                                                                                            ); J&J Ex. 11

  (SOSP_1944933) (same); J&J Ex. 12 (SOSP_2159340) (same); J&J Ex. 30 (

                                                                     ).

          While J&J asserts that Kauffman, Bartz, and Mighells likely encountered and discussed

  patient issues, Mot. at 3, 11, SaveOn has already produced documents from the ten existing PSR

  custodians, as well as the call notes and descriptions of 220,000 calls made by or to SaveOn’s

  PSRs, 5 reflecting all calls with patients concerning Janssen drugs during the relevant period. 6 And

  while J&J asserts that these employees might have unique information about SaveOn’s training




  5
    See, e.g., Ex. 19 (SOSP_0446832) (call records); Ex. 20 (SOSP_0446833) (same); Ex. 21
  (SOSP_1320403) (same); Ex. 22 (SOSP_1320403) (same); Ex. 23 (SOSP_1320404) (same).
  6
   SaveOn has agreed in principle to produce available corresponding call recordings. See Ex. 24
  (Aug. 2, 2024 Ltr. from M. Nelson to J. Chefitz).


                                                   4
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  processes for PSRs, Mot. at 8, 12, SaveOn has already produced piles of training materials from

  both custodial and non-custodial sources, see Ex. 32 (SaveOn’s R&Os to J&J’s First Set of RFPs),

  including all recorded training sessions that it has been able to identify, and thousands of talk

  tracks, training guides, and presentations. 7 SaveOn’s investigation shows that Kauffman, Bartz,

  and Paula Mighells did not have primary responsibility for drafting training materials; that respon-

  sibility lay with                                                         —all existing custodians.

  In light of this, J&J’s requests should be denied.

          A.       Leslie Kauffman

          Nearly three months ago, SaveOn offered to add Kauffman as a limited custodian if J&J

  would add Joseph Incelli as a similarly limited custodian. See J&J Ex. 22 at 2 (July 19, 2024 Ltr.

  from M. Nelson to B. Robinson); see also J&J Ex. 26 (Aug. 1, 2024 Ltr. from M. Nelson to

  B. Robinson). J&J refused, insisting that Kauffman be a full custodian. J&J Ex. 21 (Aug. 5, 2024

  Ltr. from B. Robinson to M. Nelson). This demand is meritless.

          While J&J asserts that Kauffman interacted with patients as a PSR, Mot. at 3, SaveOn has

  already produced ample discovery about PSRs and patient complaints, see supra Section I. The

  only potentially unique information that J&J identifies is a single, discrete project beginning in

  2021 in which she “obtain[ed] information f

               ” Mot. at 3. As it offered in July, SaveOn remains willing to negotiate limited search

  parameters to identify these documents. But Kauffman’s role on this one small project during a




  7
    See, e.g., Ex. 25 (SOSP_0505478) (talk track); Ex. 26 (SOSP_0300734) (call coaching form);
  Ex. 27 (SOSP_0297572) (enrollment process guide); Ex. 28 (SOSP_0302661) (guide on trouble-
  shooting billing issues); Ex. 29 (SOSP_2371545) (March 2023 billing huddle guidance).


                                                    5
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  short period of time comes nowhere close to justifying running more than 100 search terms over

  her documents for the full time period, requiring review of 19,488 more documents.

         B.      Brandon Bartz

         Bartz was a PSR in 2021 and a PSR supervisor from 2021 to 2023. Like the ten existing

  PSR custodians, he spoke with members of SaveOn-advised plans, answered questions from PSRs,

  and elevated issues to the PSR Director, Laura McClung (a current custodian), and the Member

  Services Manager, Danielle Wagner (also a current custodian). J&J does not show that Bartz—

  who appears on 4,222 documents that SaveOn already produced—is likely to have unique docu-

  ments about training, policies, or patient complaints, Mot. at 7-10, given SaveOn’s vast production

  on those topics. See supra Section I. (For instance, J&J cites a Microsoft Teams chat of PSR su-

  pervisors in which Bartz

                                                  ,” J&J Mot. at 8 (citing J&J Ex. 30)—but SaveOn

  has already produced nearly 250 talk tracks with that same language.) Adding Bartz as a full cus-

  todian would require SaveOn to review at least 22,700 additional documents. 8

         J&J’s only unique argument about Bartz is that he “spoke with unusual candor and color”

  in private conversations with another SaveOn employee, Ted Mighells. Mot. at 9. But these dis-

  cussions were mostly about irrelevant topics like office politics. See J&J Ex. 33 (

                                                                   ); J&J Ex. 35 at -970-71 (

                                             ). And the snippet of conversation that J&J cites reflects

  Ted Mighells’s opinions, not Bartz’s. Compare Mot. at 9 (“Bartz

                                                                                      ), with J&J Ex.



  8
    SaveOn is still processing one final data-source for Bartz; this number is likely to increase once
  that data is processed.


                                                   6
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  33 at -955-56 (

                                                ). Bartz’s water-cooler conversations do not show he

  is likely to have unique documents on actually relevant topics.

         C.         Paula Mighells

         Mighells—a PSR from 2019 to 2021 and a Quality Assurance Auditor from 2021

  to 2023—had no unique knowledge of SaveOn or its operations, and her documents will be dupli-

  cative of the ten existing PSR custodians’. PSRs communicated extensively through chats, and

  SaveOn already produced all responsive messages from a Teams chat called “

      ,” e.g. J&J Ex. 43, because custodians Reed and Wagner were participants. SaveOn has also

  produced all responsive messages from the “                                      ” Teams chat, e.g.

  J&J Ex. 49, and the “               ” Teams chat, e.g. J&J Ex. 45, which included Mighells and all

  other quality assurance employees, because other custodians were part of those chats too. Overall,

  SaveOn has already produced more than 218,000 Teams messages that Mighells sent or received

  (in addition to over 700 documents on which Mighells is the sender or recipient). Adding Mighells

  as a full custodian would require review of 16,323 additional documents.

         While J&J asserts that Mighells would have unique documents about declined enrollments,

  Mot. at 11-12, SaveOn’s investigation shows that, in her role as a Quality Assurance Auditor,

  Mighells

                (a current custodian),

              (both current custodians). SaveOn has produced the relevant call recordings and emails.

  J&J cites a document stating that

                                                 , Mot. at 11 (citing J&J Ex. 46)—but SaveOn has

  produced extensive call center records showing which patients declined and accepted its services.

  See Ex. 19 (SOSP_0446832) (call records); Ex. 20 (SOSP_0446833) (same); Ex. 21

                                                   7
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          J&J Ex. 62 at -253. This comes nowhere close to showing that Quinn is likely to have

unique, relevant documents.

                                       *       *      *

       We appreciate Your Honor’s attention to this matter.



                                        Respectfully submitted,


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            MOTION TO COMPEL
          ADDITIONAL CUSTODIANS

          OPPOSITION EXHIBITS 1-23

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 August 2, 2024



 Via E-mail

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 Re:     Johnson & Johnson Health Care Systems Inc. v. Save On SP,
         LLC (Case No. 2:22-cv-02632-JKS-CLW)

 Dear Elisabeth,

         We write in response to your July 16 letter regarding SaveOn’s call record-
 ings.

         As you are aware, we have been investigating the feasibility of identifying
 and producing call recordings associated with the Salesforce entries J&J identified
 in its letter. SaveOn has expended considerable efforts to identify these calls and
 has developed a process by which it can match call records to Salesforce entries
 using certain criteria, including the call date and the phone number associated with
 the call. This process requires a significant amount of time because, among other
 things, it requires SaveOn to download the entire universe of call recordings asso-
 ciated with SaveOn’s call centers before it can match those calls to Salesforce rec-
 ords using metadata.

         Based on the results of this process so far, we do not anticipate that SaveOn
 will be able to locate call records for each Salesforce entry J&J has identified. This
 is so for several reasons, including that (1) some entries do not reflect calls, e.g.,
 Row 3690; (2) some entries are duplicates, e.g., Rows 749-752; (3) some record-
 ings are reflected in more than one Salesforce entry; and (4) for some entries, no
 corresponding recording can be located despite considerable effort. We currently
 expect that the process of determining what call records SaveOn can locate will
 take several more weeks. We will provide an update once that process is complete.
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 Elisabeth Shane
 August 2, 2024




         While we reserve all rights, we are willing in principle to produce available
 call recordings that are responsive to J&J’s narrowed request in exchange for J&J’s
 agreement to produce call recordings requested by SaveOn. SaveOn’s original re-
 quest to J&J for call recordings, however, was made in March 2024, before J&J
 produced any call notes from the refresh period. J&J’s request for call recordings
 covers both the pre-refresh and refresh time periods. To ensure that the parties’
 agreement is reciprocal, SaveOn is in the process of reviewing the refresh period
 call notes that J&J has since produced and will identify the additional recordings
 from the refresh period that it believes J&J should produce. SaveOn will make
 those additional requests to J&J once we have completed our review.

         Finally, we have repeatedly asked J&J and TrialCard to provide us with in-
 formation about the feasibility of locating and producing the 1,500 call recordings
 we previously requested. It has been nearly four months since TrialCard told us
 that it was investigating the feasibility of producing these recordings. Please pro-
 vide that information without further delay.

          We reserve all rights.



 Regards,

 /s/ Meredith Nelson

 Meredith Nelson
 Associate




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            MOTION TO COMPEL
          ADDITIONAL CUSTODIANS

         OPPOSITION EXHIBITS 25-29

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 August 30, 2024



 Via E-mail

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 Re:     Johnson & Johnson Health Care Systems Inc. v. Save On SP,
         LLC (Case No. 2:22-cv-02632-JKS-CLW)

 Dear Bonnie,

        We write in response to your August 15, 2024 letter regarding J&J’s Twelfth
 Set of Requests for Production. SaveOn maintains that its proposal to resolve RFP
 Nos. 119-121 is reasonable and tailored to find and produce the documents that
 J&J told Judge Wolfson it wanted.

         First, contrary to your claim that limiting discovery on specific issues to cus-
 todians likely to be involved with those issues is “unusual,” Aug. 15, 2024 Ltr. at 1,
 the parties have done so regularly throughout this case. See, e.g., Aug. 1, 2024 Ltr.
 from M. Nelson to J. Long (detailing unique search terms for Melanie Jerred, re-
 lated to a specific issue for SaveOn client Premera; Darcie Falsioni, related to her
 work negotiating contracts; and Jessica Johnson and Kelsey Leger, related to their
 involvement in so-called “evasion” issues); Dec. 22, 2023 Ltr. from J. Long to E.
 Snow at 2 (negotiating a unique set of search terms for CAP custodians); July 25,
 2024 Ltr. from J. Long to E. Snow (agreeing to run a search term regarding draft-
 ing T&Cs across the files of a small set of custodians); see generally Aug. 8, 2024
 Ltr. from J. Long to M. Nelson (complete set of search terms J&J is running, many
 of which are limited to certain custodians). J&J itself proposed such a limitation
 here, telling Judge Wolfson that it only wanted discovery from SaveOn’s top exec-
 utives. See Apr. 3, 2024 Hr’g Tr. at 106:20-23 (Mr. Greenbaum: “[The requests]
 are very limited, it’s probably limited to information that the top executives
 know.”); id. at 108:17-20 (“So we want information…among the top three or four
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 August 30, 2024



 executives. It’s not a lot of documents.”); see also id. at 109:9-10 (“[W]e’re probably
 not talking about more than twenty documents in the whole case.”).

         Second, SaveOn’s offer to produce documents from the individuals who par-
 ticipated in decision-making on the topics covered by RFP Nos. 119-121 is exactly
 what J&J told Judge Wolfson that it wanted. Id. at 107:22-24 (“I want to know
 what was the communication that led them to … amend the confidentiality [pol-
 icy]… I want to see those communications as to why they made this change all of
 a sudden in May of 2023.” (emphasis added)); id. at 108:9-11 (I want to know who
 they policed, if anyone, of people refusing to sign this new confidentiality policy);
 id. at 108:17-22 (“[W]e want information about … how did it come about that
 [SaveOn] decided to write this letter to Mighells?” (emphasis added)). Information
 about why SaveOn changed its confidentiality policy and against whom and why it
 enforced that policy is contained in the files of the individuals who made the deci-
 sions to change and enforce the policy.

         Third, for both RFP Nos. 119 and 120, you demand that SaveOn add addi-
 tional custodians because J&J’s proposed search terms generated hits when run
 over their files. We do not agree that those hit counts show that those custodians
 have relevant documents. As we explained previously, the search terms associated
 with J&J’s requests “generate[] significant numbers of false hits” when run over
 the files of other custodians. See June 21, 2024 Ltr. from M. Nelson to B. Robinson
 at 3; see also Aug. 5, 2024 Ltr. from M. Nelson to B. Robinson. 1 For example, the
 term associated with RFP No. 119 hits on many irrelevant client contracts in the
 files of both Ron Krawczyk and Jill Stearns. See, e.g., SOSP_1121697 at -698-9
 (“Updated” in the footer, “confidential” in the watermark, and “amendment” in
 § 2(g)). The term associated with RFP No. 120 hits on J&J’s complaint in this liti-
 gation. See Dkt. 1, ¶ 22 n.4 (“stop” and “patient” and “discussed” in the same foot-
 note). We thus do not agree to add Ron Krawczyk and Jill Stearns as custodians
 for RFP No. 119 or to add Krawczyk, Stearns, and Nick Morrissey as custodians for
 RFP No. 120. If J&J has any evidence—other than hit counts—that these individu-
 als are likely to have documents responsive to RFP Nos. 119 and 120, please pro-
 vide it to us so that we may consider it.

         Fourth, for RFP No. 121, you suggest that SaveOn must add Ted Mighells as
 a custodian because he is the person “most likely to possess documents and com-
 munications regarding SaveOnSP’s efforts to take adverse action against him.” In
 fact, the first time that SaveOn took any action towards Mighells related to its con-
 fidentiality policy was when it sent him a letter in May 2023, eight months after he
 left SaveOn of his own volition in September 2022. His custodial documents are
 thus highly unlikely to have any information relating to SaveOn’s actions. You also


 1 J&J previously responded that search terms with some false hits were simply “the

 nature of electronic discovery.” June 25, 2024 Ltr. from B. Robinson to M. Nelson
 at 2. It has not, however, pointed to documents that indicate other custodians were
 involved in the decision-making processes referenced in RFP Nos. 119-121.


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 Bonita L. Robinson
 August 30, 2024



 ask that SaveOn designate multiple other employees as custodians for RFP No. 121,
 but our investigation shows that they had nothing to do with SaveOn’s letter to
 Mighells. Documents showing “how … it [came] about that [SaveOn] decided to
 write [a] letter to Mighells” in May 2023, Apr. 3, 2024 Hr’g Tr. at 108:17-22, will
 be found in the files of the individuals who were involved in writing and sending
 that letter—Jody Miller, Claudia Dunbar, and Rob Saeli. We decline to add the re-
 quested custodians.

        Fifth, you ask who communicated with Mighells about any “adverse actions”
 against him. Based on our investigation, we understand that the only individuals
 who communicated with Mighells regarding any “adverse actions” against him
 were outside lawyers supervised by Jody Miller, Claudia Dunbar, and/or Rob Saeli.

         Sixth, you suggest that SaveOn must add individuals who worked with Paula
 Mighells as custodians for RFP No. 121. We decline to do so. J&J has claimed that
 it seeks documents regarding the reasons for any adverse actions against Paula
 Mighells. Any such documents reside with the individuals who made the decisions
 to take those adverse actions—Jody Miller, Claudia Dunbar, and Rob Saeli. J&J
 presents no basis for its request to fish through the documents of six additional
 custodians other than speculation that they may have talked about an issue related
 to their co-worker. If J&J has any evidence—other than hit counts—that these in-
 dividuals are likely to have documents responsive to RFP No. 121, please provide
 it to us so that we may consider it.

        Sixth, the only other individual besides Jody Miller, Claudia Dunbar, and
 Rob Saeli who may have communicated with Paula Mighells regarding her termi-
 nation is Scott Terhaar. Terhaar is not an existing custodian and had limited in-
 volvement in her termination; he communicated the decision to terminate Paula
 Mighells’s employment to her because Rob Saeli retired from SaveOn shortly be-
 fore she was terminated. Any conversation that he had about the reasons for that
 decision would have been with Miller, Dunbar, or Saeli. Given the at-best limited
 relevance of these requests, collecting and producing documents from a new cus-
 todian is disproportionate and unduly burdensome. SaveOn will not collect and
 produce documents from Terhaar in response to this request.

        Finally, you demand that SaveOn produce its “Workplace Communication”
 and “Remote Work” policies, but do not explain the relevance of this new request.
 If you do so, we will consider it.

 Sincerely,

 /s/ Meredith Nelson

 Meredith Nelson
 Associate




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                  Exhibit 31
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Attorneys for Defendant Save On SP, LLC


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 JOHNSON & JOHNSON HEALTH CARE                  Civil Action No. 22-2632 (JKS) (CLW)
 SYSTEMS INC.,
                                                 DEFENDANT’S SUPPLEMENTAL
                       Plaintiff,               RSPONSES AND OBJECTIONS TO
                                                PLAINTIFF’S INTERROGATORIES
               v.

 SAVE ON SP, LLC,

                       Defendant.



To:    Jeffrey J. Greenbaum, Esq.
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       Attorneys for Plaintiff Johnson & Johnson
       Health Care Systems Inc.

       Pursuant to Federal Rules of Civil Procedure 26 and 33, and Local Civil Rule 33.1,

Defendant Save On SP, LLC (“SaveOnSP”), by and through its undersigned counsel, hereby

supplements its Responses and Objections to Plaintiff Johnson & Johnson Health Care Systems

Inc.’s (“JJHCS”) Interrogatory Nos. 2, 17, 18 and 20, contained in SaveOnSP’s previously-served

Responses and Objections. These responses should be deemed to supplement and amend

SaveOnSP’s disclosures under Rule 26(a) of the Federal Rules of Civil Procedure. If SaveOnSP

learns that in some material respect its responses are incomplete or incorrect, SaveOnSP will

supplement or correct them if the additional or corrective information has not otherwise been made

known to JJHCS during the discovery process or in writing. Fed. R. Civ. P. 26(e)(1)(A).

SaveOnSP’s responses to these Interrogatories are based on information available to it at the time

it made them. SaveOnSP reserves the right to modify or supplement its responses.


                                  GENERAL OBJECTIONS

       1.      JJHCS does not limit any of its Interrogatories to nonprivileged material. Save-

OnSP objects to each Interrogatory to the extent that it seeks a disclosure of information which is

subject to the attorney-client privilege, the work product doctrine, the common-interest privilege,

or any other applicable privileges, immunities, or doctrines.




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           2.   JJHCS does not limit any of its Interrogatories to information withing SaveOnSP’s

possession, custody, or control. SaveOnSP objects to each Interrogatory to the extent that it seeks

disclosure of information that is not within SaveOnSP’s possession, custody, or control that Save-

OnSP can locate after a reasonable inquiry.

                               OBJECTIONS TO DEFINITIONS

           3.   SaveOnSP objects to the definition of “SaveOnSP” as including attorneys and ac-

countants who may be outside of SaveOnSP’s possession, custody, and control. SaveOnSP inter-

prets the term “SaveOnSP” to mean SaveOnSP, LLC, and any and all predecessors and successors

in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

atives, directors, officers, employees, committees, and all persons or entities acting or purporting

to act on behalf or under the control of SaveOnSP, LLC.

           4.   SaveOnSP objects to the definition of “SaveOnSP Program,” as described in Com-

plaint ¶¶ 9-17, because it mischaracterizes SaveOnSP’s services. SaveOnSP will not use this def-

inition.

           5.   SaveOnSP objects to the definition of “You” and “Your” to the same extent that it

objects to the definition of “SaveOnSP.”

           6.   SaveOnSP objects to the term “or other substance” in the definition of “Pharma-

ceutical Manufacturer” as vague and ambiguous. SaveOnSP will interpret the term “Pharmaceuti-

cal Manufacturer” to mean any entity that develops, produces, manufactures, creates, licenses, or

distributes any pharmaceutical, drug, or medicine used in the treatment, cure, prevention or diag-

nosis of any illness, disease, disorder, or other condition.



Dated: April 24, 2023                          By: /s/    E. Evans Wohlforth, Jr.
                                                   E. Evans Wohlforth, Jr.
                                                   ROBINSON & COLE LLP
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SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORY NOS. 2, 17, 18,
                            AND 20

       INTERROGATORY NO. 2:

       Describe, in as much detail as possible, Your involvement in the creation and use of the
presentation found at https://vimeo.com/513414094 (hereinafter, SaveOnSP IPBC Video) as dis-
cussed in the Complaint (see, e.g., Compl. ¶¶ 9–11, 53–56).

       RESPONSE:




       SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


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       INTERROGATORY NO. 17:

       Describe, in as much detail as possible, all measures that You have utilized to prevent any
Pharmaceutical Manufacturer or manufacturers from being able to identify Your employees or
representatives as being affiliated with SaveOnSP, or to make it more difficult for them to do so.

       RESPONSE:




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       SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

       INTERROGATORY NO. 18:

       Describe, in as much detail as possible, all measures that You have utilized to prevent Your
current or former employees from communicating with JJHCS or others with regard to Save-
OnSP’s conduct at issue in this lawsuit, or to make it more difficult for them to do so.

       RESPONSE:




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       SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November, 22, 2022, ECF No. 62.

       INTERROGATORY NO. 20:

      Describe, in as much detail as possible, each instance where and all circumstances under
which You have instructed Your representatives or employees to lie to, mislead, or deceive Phar-
maceutical Manufacturers including with regard to their affiliation with SaveOnSP.

       RESPONSE:




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                                       .



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       SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.




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                  Exhibit 32
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 JOHNSON & JOHNSON HEALTH CARE                Civil Action No. 22-2632 (JMV) (CLW)
 SYSTEMS INC.,
                                               DEFENDANT’S RESPONSES AND
                     Plaintiff,                 OBJECTIONS TO PLAINTIFF’S
                                                FIRST AND SECOND SETS OF
               v.                             REQUESTS FOR PRODUCTION OF
                                                       DOCUMENTS
 SAVE ON SP, LLC,

                     Defendant.



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       Attorneys for Plaintiff Johnson & Johnson
       Health Care Systems Inc.

       Pursuant to Federal Rule of Civil Procedure 34, Defendant Save On SP, LLC (“Save-

OnSP”), by and through its undersigned counsel, responds and objects to Plaintiff Johnson & John-

son Health Care Systems Inc.’s (“JJHCS”) First and Second Sets of Requests for Production, dated

May 11, 2022 and October 21, 2022, respectively (the “Requests”). If SaveOnSP learns that in

some material respect its responses are incomplete or incorrect, SaveOnSP will correct them if the

additional or corrective information has not otherwise been made known to JJHCS during the dis-

covery process or in writing. Fed. R. Civ. P. 26(e)(1)(A).

                                  GENERAL OBJECTIONS

       1.      SaveOnSP objects to each of these Requests to the extent that they seek the disclo-

sure of the identities of plan participants or of health plans that have contracted with SaveOnSP,

because such information is not sufficiently relevant and necessary to JJHCS’s case to outweigh

the harm that disclosure of that information could cause to SaveOnSP, plan participants, and health

plans. SaveOnSP will anonymize references to the identities of plan participants or health plans

that have contracted with SaveOnSP in documents it produces in response to these Requests.

                              OBJECTIONS TO DEFINITIONS

       2.      SaveOnSP objects to the definition of the term “SaveOnSP” as including attorneys

and accountants who may be outside of SaveOnSP’s possession, custody, and control. SaveOnSP

interprets the term “SaveOnSP” to mean SaveOnSP, and any and all predecessors and successors


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in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

atives, directors, officers, employees, committees, and all persons or entities acting or purporting

to act on behalf or under the control of SaveOnSP.

           3.   SaveOnSP objects to the definition of “SaveOnSP Program,” as described in Com-

plaint ¶¶ 9-17, because it mischaracterizes SaveOnSP’s services. SaveOnSP will not use this def-

inition.

           4.   SaveOnSP objects to the definition of “You” and “Your” to the same extent that it

objects to the definition of “SaveOnSP.”

           5.   SaveOn objects to the definition of “Drug List” to the extent that it objects to the

definition of the “SaveOnSP Program.”

                              OBJECTIONS TO INSTRUCTIONS

           6.   SaveOnSP objects to Instruction No. 14 in Plaintiff’s First Set of Requests for Pro-

duction and Instruction No. 18 in Plaintiff’s Second Set of Requests for Production to the extent

that JJHCS attempts to impose requirements on SaveOnSP beyond those required by the Federal

Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

           7.   SaveOnSP objects to Instruction No. 16 in Plaintiff’s First Set of Requests for Pro-

duction and Instruction No. 20 in Plaintiff’s Second Set of Requests for Production to the extent

that it asks SaveOnSP to produce Documents and Communications outside of its possession, cus-

tody, and control or asks SaveOnSP to provide information beyond that which SaveOnSP can

identify after a reasonable search. SaveOnSP will produce relevant, non-privileged documents

within its possession, custody, or control that it can identify after a reasonable search.

           8.   SaveOnSP objects to Instruction No. 18 in Plaintiff’s First Set of Requests for Pro-

duction and Instruction No. 22 in Plaintiff’s Second Set of Requests for Production to the extent



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that JJHCS attempts to impose requirements on SaveOnSP beyond those required by the Federal

Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

       9.       SaveOnSP objects to the definition of the term “copay” as used in the Complaint.

SaveOnSP interprets the term “copay” to mean the portion of a drug’s cost, as determined by the

plan, owed by the patient at point of sale.

       10.      SaveOnSP uses the terms “Essential Health Benefits,” “Janssen Drugs,” and “Non-

Essential Health Benefits” as defined in SaveOnSP’s First Request for Production of Documents

to JJHCS, dated November 11, 2022.

                        SPECIFIC RESPONSES AND OBJECTIONS

       REQUEST NO. 1: Documents sufficient to show SaveOnSP’s organizational structure
throughout the Time Period, including but not limited to organization charts.

       RESPONSE: SaveOnSP will produce documents in response to this Request.

       REQUEST NO. 2: Documents sufficient to identify the names and citizenship of all Save-
OnSP LLC members, including the membership of any limited liability companies, limited part-
nerships, or partnerships that are members of SaveOnSP, either directly or indirectly (e.g., through
membership of an LLC that is itself a member of SaveOnSP).

       RESPONSE: SaveOnSP objects to this Request because the membership and citizenship

of SaveOnSP are irrelevant to the claims or defenses in this action.

       SaveOnSP will not produce documents in response to this Request.

        REQUEST NO. 3: Documents sufficient to identify every person who has ever been en-
rolled in CarePath and the SaveOnSP Program.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of


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that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks information beyond that sufficient to show the total number of people enrolled in plans

advised by SaveOnSP who also enrolled in CarePath. The burden and expense of producing such

information, including the identities of thousands of people enrolled in plans advised by SaveOnSP

who also enrolled in CarePath, outweighs the marginal relevance of the material requested. Save-

OnSP will not produce such documents.

       SaveOnSP will produce documents sufficient to show the total number of people enrolled

in plans advised by SaveOnSP who also enrolled in CarePath.

        REQUEST NO. 4: Documents sufficient to identify every health plan who has ever con-
tracted with SaveOnSP or Express Scripts to participate in the SaveOnSP Program.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks the identities of every health plan advised by SaveOnSP. The burden and expense of

producing all such information outweighs the marginal relevance of the material requested. Save-

OnSP will not produce such information.

       SaveOnSP will not produce documents in response to this Request.


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       REQUEST NO. 5: All documents, including drafts, concerning communications with per-
sons currently enrolled or eligible to enroll in CarePath.

         RESPONSE: SaveOnSP objects to the phrase “persons … eligible to enroll in CarePath”

as not describing the requested documents with reasonable particularity. SaveOnSP interprets that

phrase to mean plan members who have been prescribed Janssen Drugs.

         SaveOnSP objects to this Request to the extent that it seeks documents concerning com-

munications with persons who are not enrolled in plans advised by SaveOnSP, seeks documents

concerning communications that do not relate to CarePath or to SaveOnSP’s services, or seeks

drafts of communications not shared with persons who are enrolled in plans advised by SaveOnSP,

as such documents are irrelevant to the claims or defenses in this action. SaveOnSP will not pro-

duce such documents.

         SaveOnSP objects to this Request as not proportional to the needs of the case because it

seeks all communications between SaveOnSP and plan members who have been prescribed

Janssen Drugs. The burden and expense of producing all such documents outweighs the marginal

relevance of the material requested. SaveOnSP will not produce all such documents.

         SaveOnSP objects to this Request to the extent that it seeks documents beyond those suf-

ficient to show the content of SaveOnSP’s communications with persons enrolled in health plans

advised by SaveOnSP who enrolled or were eligible to enroll in CarePath concerning CarePath or

SaveOnSP’s services, as such documents are cumulative. SaveOnSP will not produce such docu-

ments.

         SaveOnSP objects to producing the identities of plan participants or health plans that have

contracted with SaveOnSP because such information is not sufficiently relevant and necessary to

JJHCS’s case to outweigh the harm that disclosure of that information could cause to SaveOnSP,

plan participants, and health plans. SaveOnSP will not produce such information.


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       SaveOnSP will produce documents sufficient to show the content of communications with

persons enrolled in health plans advised by SaveOnSP who enrolled or were eligible to enroll in

CarePath concerning CarePath or SaveOnSP’s services. SaveOnSP will anonymize references to

the identities of plan participants or health plans that have contracted with SaveOnSP in such doc-

uments.

     REQUEST NO. 6: All communications between SaveOnSP and JJHCS, as well as all
communications SaveOnSP has had relating to SaveOnSP’s communications with JJHCS.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents that

do not concern CarePath, SaveOnSP’s services, or Janssen Drugs, because such documents are

irrelevant to the claims or defenses in this action. SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case because it

seeks all communications between SaveOnSP and JJHCS, and communications relating to such

communications, beyond those identified during a reasonable search. The burden and expense of

producing all such documents outweighs the marginal relevance of the material requested. Save-

OnSP will not produce all such documents.

       SaveOnSP will produce communications between SaveOnSP and JJHCS concerning Care-

Path, SaveOnSP’s services, or Janssen Drugs, and communications relating to such communica-

tions, identified during a reasonable search.

        REQUEST NO. 7: All communications SaveOnSP has received from persons currently
enrolled in CarePath, including patient complaints or inquiries regarding the SaveOnSP Program,
and all documents regarding such patient complaints or inquiries.

       RESPONSE: SaveOnSP objects to the term “SaveOnSP Program,” because there is no

“SaveOnSP Program” as defined in the Requests. SaveOnSP interprets this term to mean the ser-

vices that it provides to health plans.




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       SaveOnSP objects to this Request to the extent that it seeks documents that do not concern

SaveOnSP’s services or the terms of plans advised by SaveOnSP, because such documents are

irrelevant to the claims or defenses in this action. SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case because it

seeks all communications SaveOnSP has received from persons currently enrolled in CarePath

beyond those identified during a reasonable search. The burden and expense of producing all such

documents outweighs the marginal relevance of the material requested. SaveOnSP will not pro-

duce all such documents.

       SaveOnSP objects to this Request to the extent that it seeks documents reflecting Save-

OnSP’s communications with plan participants beyond those sufficient to show SaveOnSP’s

standard, scripted communications regarding SaveOnSP’s services or the terms of plans advised

by SaveOnSP with persons enrolled in CarePath and in a health plan advised by SaveOnSP, as

such documents are cumulative. SaveOnSP will not produce such documents.

       SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of

that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

       SaveOnSP will produce documents sufficient to show SaveOnSP’s standard, scripted com-

munications regarding SaveOnSP’s services or the terms of plans advised by SaveOnSP with per-

sons enrolled in CarePath and in a health plan advised by SaveOnSP. SaveOnSP will also produce

communications identified during a reasonable search that it has received from persons currently

enrolled in CarePath concerning complaints or inquiries about SaveOnSP’s services or the terms




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of plans advised by SaveOnSP. SaveOnSP will anonymize references to the identities of plan par-

ticipants in such documents.

        REQUEST NO. 8: All communications SaveOnSP has received from persons who (i)
refused to enroll in the SaveOnSP Program; (ii) tried to opt out of enrollment in the SaveOnSP
Program; or (iii) initially enrolled in the SaveOnSP Program, but later canceled their enrollment,
as well as all documents regarding such patient communications.

       RESPONSE: SaveOnSP objects to the term “SaveOnSP Program,” because there is no

“SaveOnSP Program” as defined in the Requests. SaveOnSP interprets this term to mean the ser-

vices that it provides to health plans.

       SaveOnSP interprets this Request to seek communications regarding plan benefits offered

by plans advised by SaveOnSP under which a plan will cover any portion of a plan member’s

copay for a specialty drug if the plan member enrolls in a copay assistance program and consents

to SaveOnSP monitoring her pharmacy account on behalf of the plan.

       SaveOnSP objects to this Request to the extent that it seeks documents not related to Care-

Path or Janssen Drugs, as such documents are irrelevant to the claims or defenses in this action.

SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all communications that SaveOnSP has received from members of plans advised by

SaveOnSP who use any Janssen Drug who (i) refused to either enroll in CarePath or allow Save-

OnSP to monitor their pharmacy accounts on behalf of the plan; (ii) tried to opt out of either Care-

Path or monitoring of their pharmacy accounts; or (iii) initially enrolled in CarePath and consented

to monitoring of their pharmacy accounts but later either cancelled their enrollment in CarePath or

withdrew their consent to monitoring of their accounts beyond those identified during a reasonable

search. The burden and expense of producing all such documents outweighs the marginal rele-

vance of the material requested. SaveOnSP will not produce all such documents.


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         SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of

that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

         SaveOnSP will produce communications identified during a reasonable search that it has

received from members of plans advised by SaveOnSP who use any Janssen Drug who (i) refused

to either enroll in CarePath or allow SaveOnSP to monitor their pharmacy accounts on behalf of

the plan; (ii) tried to opt out of either CarePath or monitoring of their pharmacy accounts; or (iii)

initially enrolled in CarePath and consented to monitoring of their pharmacy accounts but later

either cancelled their enrollment in CarePath or withdrew their consent to monitoring of their ac-

counts. SaveOnSP will anonymize references to the identities of plan participants in such docu-

ments.

        REQUEST NO. 9: All documents and communications concerning the “Master Program
Agreement, effective November 13, 2017” executed between Express Scripts and SaveOnSP, in-
cluding any drafts thereof and amendments, schedules, exhibits, and appendices thereto, as well
as all documents and communications concerning any predecessor or successor agreements be-
tween Express Scripts and SaveOnSP relating to similar subject matter as the Master Program
Agreement.

         RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents other

than the executed versions of the Master Program Agreement and similar agreements, as such

documents are irrelevant to the claims or defenses in this action. SaveOnSP will not produce such

documents.

         SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks documents other than the executed versions of the Master Program Agreement and

similar agreements. The burden and expense of producing such documents outweighs any marginal

relevance of the material requested. SaveOnSP will not produce such documents.


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       SaveOnSP will produce executed versions of the Master Program Agreement, similar

agreements, and any amendments, schedules, exhibits, and appendices thereto.

       REQUEST NO. 10: All documents and communications concerning the relationship be-
tween Express Scripts and SaveOnSP, including any payments remitted to SaveOnSP pursuant to
the Master Program Agreement, or any other agreement, written or otherwise.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents that

do not concern SaveOnSP’s services at issue in this action, as such documents are irrelevant to the

claims or defenses in this action. SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents and communications concerning the relationship between SaveOnSP

and Express Scripts regarding SaveOnSP’s services at issue in this action beyond those identified

during a reasonable search. The burden and expense of producing all such documents outweighs

any marginal relevance of the material requested. SaveOnSP will not produce all such documents.

       SaveOnSP objects to this Request to the extent that it seeks documents concerning pay-

ments made between Express Scripts and SaveOnSP beyond those sufficient to show the amounts

of those payments, as such information is cumulative. SaveOnSP will not produce such documents.

       SaveOnSP will produce documents and communications identified during a reasonable

search concerning the relationship between SaveOnSP and Express Scripts regarding SaveOnSP’s

services at issue in this action. SaveOnSP will also produce documents sufficient to show payments

made between Express Scripts and SaveOnSP.

       REQUEST NO. 11: All documents and communications concerning the relationship be-
tween Accredo and SaveOnSP, including contracts, agreements, and memoranda of understanding
of any kind.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents be-

yond those sufficient to show the relationship between SaveOnSP and Accredo as it relates to



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SaveOnSP’s services at issue in this action, as such documents are cumulative. SaveOnSP will not

produce such documents.

       SaveOnSP will produce documents and communications sufficient to show the relationship

between SaveOnSP and Accredo as it relates to SaveOnSP’s services at issue in this action.

       REQUEST NO. 12: All documents concerning fees paid to or collected by SaveOnSP, not
otherwise captured by other Requests.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents con-

cerning fees unrelated to Janssen Drugs, as those documents are irrelevant to the claims or defenses

in this action. SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those suf-

ficient to show relevant payments paid to or collected by SaveOnSP, as such information is cumu-

lative. SaveOnSP will not produce such documents.

       SaveOnSP will produce documents sufficient to show all fees paid to or collected by Save-

OnSP that relate to the services it provides to plans regarding Janssen Drugs.

       REQUEST NO. 13: All documents and communications between Accredo and Save-
OnSP concerning CarePath, including the terms and conditions of CarePath and the operation of
the CarePath copay card.

       RESPONSE: SaveOnSP objects to this Request as not proportional to the needs of the

case to the extent that it seeks all documents and communications between Accredo and Save-

OnSP concerning CarePath beyond those identified during a reasonable search. The burden and

expense of producing all such documents outweighs the marginal relevance of the material re-

quested. SaveOnSP will not produce all such documents.

       SaveOnSP will produce documents in response to this Request identified during a reason-

able search.




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      REQUEST NO. 14: All marketing materials, including drafts, regarding the SaveOnSP
Program provided to health insurance plan sponsors or any other person.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to this Request to the extent that it seeks documents other than the final

versions of marketing materials that SaveOnSP provided to health plan sponsors, as such docu-

ments are irrelevant to the claims or defenses in this action. SaveOnSP will not produce such doc-

uments.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all marketing materials regarding SaveOnSP’s services to health plans beyond those

identified during a reasonable search. The burden and expense of producing all such documents

outweighs the marginal relevance of the material requested. SaveOnSP will not produce all such

documents.

       SaveOnSP objects to producing the identities of plan participants or health plans that have

contracted with SaveOnSP because such information is not sufficiently relevant and necessary to

JJHCS’s case to outweigh the harm that disclosure of that information could cause to SaveOnSP,

plan participants, and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce final versions of marketing materials identified during a reasona-

ble search regarding the services that it provides to health plans. SaveOnSP will anonymize refer-

ences to the identities of plan participants or health plans that have contracted with SaveOnSP in

such documents.




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       REQUEST NO. 15: All recordings or transcripts of presentations or interviews concerning
the SaveOnSP Program.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all recordings or transcripts of presentations or interviews concerning the services

SaveOnSP provides to health plans beyond those identified during a reasonable search. The burden

and expense of producing all such documents outweighs the marginal relevance of the material

requested. SaveOnSP will not produce all such documents.

       SaveOnSP objects to producing the identities of plan participants or health plans that have

contracted with SaveOnSP because such information is not sufficiently relevant and necessary to

JJHCS’s case to outweigh the harm that disclosure of that information could cause to SaveOnSP,

plan participants, and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce recordings or transcripts of presentations regarding the services

that it provides to health plans identified during a reasonable search. SaveOnSP will anonymize

references to the identities of plan participants or health plans that have contracted with SaveOnSP

in such documents.

       REQUEST NO. 16: All documents and communications, including drafts, concerning
SaveOnSP’s marketing or promoting its services to health insurance plan sponsors, including with-
out limitation to pharmaceutical health plan sponsors.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents other

than the final versions of communications or marketing materials that SaveOnSP provided to

health plan sponsors, as such documents are irrelevant to the claims or defenses in this action.

SaveOnSP will not produce such documents.


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       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents and communications concerning SaveOnSP’s marketing or promoting

its services to health plans beyond those identified during a reasonable search. The burden and

expense of producing all such documents outweighs the marginal relevance of the material re-

quested. SaveOnSP will not produce all such documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce final versions of communications or marketing materials that

SaveOnSP provided to health plan sponsors identified during a reasonable search. SaveOnSP will

anonymize references to the identities of health plans that have contracted with SaveOnSP in such

documents.

        REQUEST NO. 17: Any agreements, including drafts, between SaveOnSP or Express
Scripts on the one hand, and health insurance plan sponsors, on the other, regarding the SaveOnSP
Program, and any communications relating thereto.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those suf-

ficient to show the terms of its contracts with health insurance plans that cover Janssen Drugs, as

such documents are irrelevant to the claims or defenses in this action. SaveOnSP will not produce

such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case because it

seeks all agreements between SaveOnSP or Express Scripts and health insurance plan sponsors
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regarding the services provided by SaveOnSP. The burden and expense of producing all such doc-

uments outweighs the marginal relevance of the material requested. SaveOnSP will not produce

all such documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       Subject to the foregoing, SaveOnSP will produce documents sufficient to show the terms

of its contracts with health insurance plans that cover Janssen Drugs. SaveOnSP will anonymize

references to the identities of health plans that have contracted with SaveOnSP in such documents.

        REQUEST NO. 18: All documents and communications concerning SaveOnSP’s evalu-
ation of Janssen therapies, including but not limited to the de-designation of Janssen therapies as
essential health benefits pursuant to the Affordable Care Act.

       RESPONSE: SaveOnSP interprets the term “Janssen therapies” to mean Janssen Drugs.

       SaveOnSP objects to this Request because SaveOnSP does not evaluate Janssen therapies

and does not designate or de-designate Janssen therapies as Essential Health Benefits pursuant to

the Affordable Care Act.

       SaveOnSP interprets this Request as seeking documents and communications concerning

advice that it provides to health plans regarding the plans’ treatment of Janssen Drugs as Essential

or Non-Essential Health Benefits.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those which

reflect advice provided by SaveOnSP to health plans, including internal communications concern-

ing that advice, as such documents are irrelevant to the claims or defenses in this action. SaveOnSP

will not produce such documents.



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       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents regarding the advice that SaveOnSP provides to health plans beyond

those identified during a reasonable search. The burden and expense of producing all such docu-

ments outweighs the marginal relevance of the material requested. SaveOnSP will not produce all

such documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents and communications identified during a reasonable

search reflecting its advice to health plans regarding the plans’ treatment of Janssen Drugs as Es-

sential or Non-Essential Health Benefits. SaveOnSP will anonymize references to the identities of

health plans that have contracted with SaveOnSP in such documents.

        REQUEST NO. 19: All documents and communications concerning SaveOnSP’s inclu-
sion or exclusion of specific drugs as essential health benefits pursuant to the Affordable Care Act,
including the criteria for inclusion and exclusion.

       RESPONSE: SaveOnSP objects to this Request because SaveOnSP is not a health plan

that can include or exclude drugs as Essential Health Benefits pursuant to the Affordable Care Act.

       SaveOnSP interprets this Request as seeking documents and communications regarding

advice that it provides to health plans regarding the plans’ treatment of Janssen Drugs as Essential

or Non-Essential Health Benefits.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those which

reflect advice provided by SaveOnSP to health plans regarding the plans’ treatment of Janssen




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Drugs as Essential or Non-Essential Health Benefits, including internal communications concern-

ing that advice, as such documents are irrelevant to the claims or defenses in this action. SaveOnSP

will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents regarding the advice that SaveOnSP provides to health plans regarding

the plans’ treatment of Janssen Drugs as Essential or Non-Essential Health Benefits beyond those

identified through a reasonable search. The burden and expense of producing all such documents

outweighs the marginal relevance of the material requested. SaveOnSP will not produce all such

documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents and communications identified during a reasonable

search reflecting SaveOnSP’s advice to health plans regarding the plans’ treatment of Janssen

Drugs as Essential or Non-Essential Health Benefits. SaveOnSP will anonymize references to the

identities of health plans that have contracted with SaveOnSP in such documents.

        REQUEST NO. 20: All documents and communications concerning the definition of “Es-
sential Health Benefits” as that term is used in the Affordable Care Act.

       RESPONSE: SaveOnSP objects to this Request because the definition of “Essential

Health Benefits” under the Affordable Care Act is publicly available information.

       SaveOnSP interprets this Request as seeking documents and communications regarding

advice that it provides to health plans regarding the plans’ treatment of Janssen Drugs as Essential

or Non-Essential Health Benefits.


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       SaveOnSP objects to this Request to the extent that it seeks documents beyond those which

reflect advice provided by SaveOnSP to health plans, including internal communications concern-

ing that advice, as such documents are irrelevant to the claims or defenses in this action. SaveOnSP

will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents regarding the advice that SaveOnSP provides to health plans beyond

those identified through a reasonable search. The burden and expense of producing all such docu-

ments outweighs the marginal relevance of the material requested. SaveOnSP will not produce all

such documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents and communications identified during a reasonable

search reflecting SaveOnSP’s advice to health plans regarding the plans’ treatment of Janssen

Drugs as Essential or Non-Essential Health Benefits. SaveOnSP will anonymize references to the

identities of health plans that have contracted with SaveOnSP in such documents.

       REQUEST NO. 21: All documents and communications concerning which state bench-
mark to use for the designation of specific drugs as essential health benefits.

       RESPONSE: SaveOnSP objects to the phrase “concerning which state benchmark to use

for the designation of specific drugs as essential health benefits.” SaveOnSP does not determine

which state benchmarks are selected by health plans.




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       SaveOnSP interprets this Request as seeking documents and communications concerning

the advice that SaveOn provides to health plans regarding the treatment of Janssen Drugs as Es-

sential or Non-Essential Health Benefits.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those which

reflect advice provided by SaveOnSP to health plans, including internal communications concern-

ing that advice, as such documents are irrelevant to the claims or defenses in this action. SaveOnSP

will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents regarding the advice that SaveOnSP provides to health plans beyond

those identified through a reasonable search. The burden and expense of producing all such docu-

ments outweighs the marginal relevance of the material requested. SaveOnSP will not produce all

such documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents and communications identified during a reasonable

search reflecting SaveOnSP’s advice to health plans regarding the plans’ treatment of Janssen

Drugs as Essential or Non-Essential Health Benefits. SaveOnSP will anonymize references to the

identities of health plans that have contracted with SaveOnSP in such documents.




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        REQUEST NO. 22: All documents and communications concerning SaveOnSP’s compli-
ance with the Affordable Care Act, including but not limited to documents and communications
concerning legal “gray area” surrounding the de-designation of Janssen therapies as essential
health benefits pursuant to the Affordable Care Act.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents con-

cerning SaveOnSP’s compliance with the Affordable Care Act, as such documents are irrelevant

to the claims or defenses in this action. SaveOnSP is not subject to the Affordable Care Act except

as the sponsor of its own health plan. SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those which

reflect advice provided by SaveOnSP to health plans concerning compliance with the Affordable

Care Act as it relates to Janssen Drugs, including internal communications concerning that advice,

as such documents are irrelevant to the claims or defenses in this action. SaveOnSP will not pro-

duce such documents.

       SaveOnSP objects to the phrase “legal ‘gray area’ surrounding the de-designation of

Janssen therapies as essential health benefits pursuant to the Affordable Care Act.” The “gray area”

discussed in the presentation that JJHCS cites in its Complaint ¶ 72 refers to the use of copay

assistance by patients on health savings account plans; it does not refer to whether drugs can be

treated as Essential Health Benefits or Non-Essential Health Benefits.

       SaveOnSP objects to this Request to the extent that it seeks documents and communica-

tions regarding the use of copay assistance by patients on health savings account plans, as such

documents are irrelevant to the claims or defenses in this action. SaveOnSP will not produce such

documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents regarding the advice that SaveOnSP provides to health plans concerning

compliance with the Affordable Care Act beyond those identified through a reasonable search.


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The burden and expense of producing all such documents outweighs the marginal relevance of the

material requested. SaveOnSP will not produce all such documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents identified during a reasonable search reflecting the ad-

vice that it provides to health plans concerning compliance with the Affordable Care Act as it

relates to Janssen Drugs. SaveOnSP will anonymize references to the identities of health plans that

have contracted with SaveOnSP in such documents.

         REQUEST NO. 23: All documents and communications relating to CarePath, including
documents and communications concerning (i) drugs for which CarePath assistance is available;
(ii) the amount of CarePath copay assistance available for Janssen therapies; (iii) the terms and
conditions of CarePath; and (iv) and corresponding or resulting changes to the SaveOnSP Program
based on the “most lucrative copay assistance programs.”

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to this Request because the phrase “corresponding or resulting changes

to the SaveOnSP Program based on the ‘most lucrative copay assistance programs’” does not de-

scribe the requested documents with reasonable particularity.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents and communications relating to CarePath beyond those identified

through a reasonable search. The burden and expense of producing all such documents outweighs

the marginal relevance of the material requested. SaveOnSP will not produce all such documents.



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       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents and communications relating to CarePath identified

during a reasonable search. SaveOnSP will anonymize references to the identities of health plans

that have contracted with SaveOnSP in such documents.

        REQUEST NO. 24: All documents concerning SaveOnSP’s offer of $0 co-payments to
patients, including any communications relating to whether to cease offering $0 co-payments for
one or more pharmaceuticals.

       RESPONSE: SaveOnSP objects to the phrase “SaveOnSP’s offer of $0 co-payments to

patients.” SaveOnSP does not offer $0 co-payments to patients.

       SaveOnSP interprets this Request to seek all documents concerning benefits offered by

plans advised by SaveOnSP in which the plan will cover any portion of a plan member’s copay

for a specialty drug if the plan member enrolls in a copay assistance program and consents to

SaveOnSP monitoring her pharmacy account on behalf of the plan.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents concerning such plan benefits beyond those identified through a rea-

sonable search. The burden and expense of producing all such documents outweighs the marginal

relevance of the material requested. SaveOnSP will not produce all such documents.

       SaveOnSP objects to producing the identities of plan participants or health plans that have

contracted with SaveOnSP because such information is not sufficiently relevant and necessary to

JJHCS’s case to outweigh the harm that disclosure of that information could cause to SaveOnSP,

plan participants, and health plans. SaveOnSP will not produce such information.



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       SaveOnSP will produce documents concerning such plan benefits identified during a rea-

sonable search. SaveOnSP will anonymize references to the identities of plan participants or health

plans that have contracted with SaveOnSP in such documents.

       REQUEST NO. 25: All documents concerning SaveOnSP call center locations, training
materials, and call scripts used in communications regarding the SaveOnSP program with patients.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to this Request to the extent that it seeks documents regarding the loca-

tions of SaveOnSP’s call centers beyond those sufficient to show those locations, as such docu-

ments are cumulative. SaveOnSP will not produce such documents.

       SaveOnSP will produce documents sufficient to show the locations of its call centers and

will produce training materials and scripts used by SaveOnSP’s call center employees regarding

the services SaveOnSP offers to health plans.

       REQUEST NO. 26: All documents concerning actuarial, adherence trends, or other anal-
yses performed by SaveOnSP on patient adherence to Janssen therapies.

       RESPONSE: SaveOnSP interprets the term “Janssen therapies” to mean Janssen Drugs.

       SaveOnSP will produce documents responsive to this Request identified during a reasona-

ble search.

       REQUEST NO. 27: All documents and communications concerning non-medical switch-
ing of prescription drug therapies by CarePath patients, enrolled, or not enrolled in SaveOnSP,
based on the exhaustion of manufacturer copay assistance funds.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as described in the Requests. SaveOnSP interprets this term to mean the services that it provides

to health plans.



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       SaveOnSP will produce documents responsive to this Request identified during a reasona-

ble search.

        REQUEST NO. 28: All documents and communications concerning “the inflated co-pay,”
or increase to, SaveOnSP patients’ copay or out-of-pocket obligations.

       RESPONSE: SaveOnSP objects to the phrase “SaveOnSP patients.” SaveOnSP does not

have patients. SaveOnSP interprets this phrase to refer to members of plans advised by SaveOnSP

who are enrolled in CarePath.

       SaveOnSP objects to this Request to the extent that it seeks documents and communica-

tions regarding copays for drugs other than Janssen Drugs, as such documents are irrelevant to the

claims or defenses in this action. SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents and communications concerning changes to copays for Janssen Drugs

made by health plans advised by SaveOnSP beyond those identified during a reasonable search.

The burden and expense of producing all such documents outweighs the marginal relevance of the

material requested. SaveOnSP will not produce all such documents.

       SaveOnSP objects to producing the identities of plan participants or health plans that have

contracted with SaveOnSP because such information is not sufficiently relevant and necessary to

JJHCS’s case to outweigh the harm that disclosure of that information could cause to SaveOnSP,

plan participants, and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents and communications identified during a reasonable

search concerning changes to copays for Janssen Drugs made by health plans advised by Save-

OnSP. SaveOnSP will anonymize references to the identities of plan participants or health plans

that have contracted with SaveOnSP in such documents.




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        REQUEST NO. 29: All documents and communications indicating the total amount Save-
OnSP has collected from patients who had already satisfied their out-of-pocket maximum, prior to
enrolling in SaveOnSP.

        RESPONSE: SaveOnSP objects to the phrase “the total amount SaveOnSP has collected

from patients.” SaveOnSP does not collect amounts from patients.

        SaveOnSP objects to the phrase “enrolling in SaveOnSP.” Patients do not enroll in Save-

OnSP.

        SaveOnSP objects to this Request as not describing the documents sought with reasonable

particularity.

        SaveOn will not produce documents in response to this Request.

        REQUEST NO. 30: All documents reflecting communications with pharmacies regarding
the “[p]oint of sale claim rejection” to “facilitate warm transfer of member to SaveonSP.”

        RESPONSE: SaveOnSP objects to the phrase “[p]oint of sale claim rejection,” as it does

not accurately describe pharmacies’ communications with patients.

        SaveOnSP interprets this Request as seeking all documents reflecting communications

with pharmacies regarding the warm transfer of plan members to SaveOnSP.

        SaveOnSP objects to this Request to the extent that it seeks documents reflecting commu-

nications with pharmacies about drugs other than Janssen Drugs, as those communications are

irrelevant to the claims and defenses in this action. SaveOnSP will not produce such documents.

        SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents reflecting its communications with pharmacies regarding the warm

transfer of members using Janssen Drugs to SaveOnSP beyond those identified during a reasonable

search. The burden and expense of producing all such documents outweighs the marginal rele-

vance of the material requested. SaveOnSP will not produce all such documents.




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       SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of

that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

       SaveOnSP will produce documents identified during a reasonable search reflecting its com-

munications with pharmacies regarding communications with members using Janssen Drugs re-

garding the warm transfer of members to SaveOnSP. SaveOnSP will anonymize references to the

identities of plan participants in such documents.

       REQUEST NO. 31: All documents concerning or discussing the amount of “savings”
generated and commissions earned by SaveOnSP relating to Janssen therapies.

       RESPONSE: SaveOnSP interprets the term “Janssen therapies” to mean Janssen Drugs.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those suf-

ficient to show the annual savings generated by SaveOnSP for its clients relating to Janssen Drugs

and the annual fees earned by SaveOnSP relating to Janssen Drugs, as such documents are cumu-

lative. SaveOnSP will not produce such documents.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents sufficient to show the annual savings on Janssen Drugs

generated by SaveOnSP for its clients and the annual fees earned by SaveOnSP relating to Janssen

Drugs. SaveOnSP will anonymize references to the identities of health plans that have contracted

with SaveOnSP in such documents.




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       REQUEST NO. 32: All documents and communications concerning SaveOnSP’s meth-
ods to maintain or increase “savings” to health plan sponsors through manufacturer copay assis-
tance programs.

       RESPONSE: SaveOnSP objects to the phrase “SaveOnSP’s methods to maintain or in-

crease ‘savings’ to health plan sponsors through manufacturer copay assistance programs” as not

describing the documents sought with reasonable particularity.

       SaveOnSP interprets this Request as seeking all documents and communications concern-

ing savings for plans advised by SaveOnSP.

       SaveOnSP objects to this Request to the extent that it seeks information regarding savings

not related to Janssen Drugs, as such documents are not relevant to the claims and defenses in this

action. SaveOnSP will not produce such documents.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents regarding savings for plans advised by SaveOnSP beyond those identi-

fied during a reasonable search. The burden and expense of producing all such documents out-

weighs the marginal relevance of the material requested. SaveOnSP will not produce all such doc-

uments.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce documents responsive to this Request identified during a reasona-

ble search regarding savings for plans advised by SaveOnSP related to Janssen Drugs. SaveOnSP

will anonymize references to the identities of health plans that have contracted with SaveOnSP in

such documents.



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       REQUEST NO. 33: All documents and communications SaveOnSP has received reflect-
ing complaints, concerns, or inquiries about SaveOnSP’s operations, services, and/or business
model, including without limitation from patients, patient advocacy groups, health plan sponsors,
governmental agencies, Express Scripts and Accredo.

         RESPONSE: SaveOnSP objects to this Request to the extent that it seeks communications

not related to Janssen Drugs and SaveOnSP’s conduct at issue in this action, as such documents

are not relevant to the claims and defenses in this action. SaveOnSP will not produce such docu-

ments.

         SaveOnSP objects to this Request to the extent that it seeks all documents reflecting

SaveOn’s standard communications with plan members beyond those sufficient to show its stand-

ard, scripted communications with plan members, as such documents are cumulative. SaveOnSP

will not produce such documents.

         SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents and communications SaveOnSP has received reflecting complaints,

concerns, or inquiries about SaveOnSP’s operations, services, or business model related to Janssen

Drugs and SaveOnSP’s conduct at issue in this action beyond those identified during a reasonable

search. The burden and expense of producing all such documents outweighs the marginal rele-

vance of the material requested. SaveOnSP will not produce all such documents.

         SaveOnSP objects to producing the identities of plan participants or health plans that have

contracted with SaveOnSP because such information is not sufficiently relevant and necessary to

JJHCS’s case to outweigh the harm that disclosure of that information could cause to SaveOnSP,

plan participants, and health plans. SaveOnSP will not produce such information.

         SaveOnSP will produce documents and communications identified during a reasonable

search that it has received reflecting complaints, concerns, or inquiries about its services related to

Janssen Drugs and its conduct at issue in this Action. SaveOnSP will anonymize references to the


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identities of plan participants or health plans that have contracted with SaveOnSP in such docu-

ments.

        REQUEST NO. 34: All documents and communications concerning SaveOnSP’s cover-
age for drugs after the exhaustion of available manufacturer’s copay assistance.

         RESPONSE: SaveOnSP objects to the phrase “SaveOnSP’s coverage for drugs after the

exhaustion of available manufacturer’s copay assistance.” SaveOnSP does not provide “coverage

for drugs” to patients.

         SaveOnSP interprets this Request as seeking all documents and communications concern-

ing the coverage provided by plans advised by SaveOnSP after the exhaustion of available manu-

facturer’s copay assistance.

         SaveOnSP objects to this Request to the extent that it seeks information related to health

plans’ coverage of drugs other than Janssen Drugs, as such documents are irrelevant to the claims

and defenses in this action. SaveOnSP will not produce such documents.

         SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents and communications concerning the coverage provided by plans ad-

vised by SaveOnSP after the exhaustion of available manufacturer’s copay assistance beyond those

identified during a reasonable search. The burden and expense of producing all such documents

outweighs the marginal relevance of the material requested. SaveOnSP will not produce all such

documents.

         SaveOnSP objects to producing the identities of plan participants or health plans that have

contracted with SaveOnSP because such information is not sufficiently relevant and necessary to

JJHCS’s case to outweigh the harm that disclosure of that information could cause to SaveOnSP,

plan participants, and health plans. SaveOnSP will not produce such information.




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       SaveOnSP will produce documents and communications identified during a reasonable

search concerning the coverage provided by plans advised by SaveOnSP for Janssen Drugs once

CarePath funds have been exhausted. SaveOnSP will anonymize references to the identities of

plan participants or health plans that have contracted with SaveOnSP in such documents.

         REQUEST NO. 35: All documents, including drafts, and communications concerning the
preparation of, and posting of the SaveOnSP IPBC Video presentation as discussed in the Com-
plaint, including who prepared the presentation, to whom the presentation was given, how many
times the presentation was given, by whom, and over what period of time.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents other

than the final SaveOnSP IPBC Video presentation, as such documents are irrelevant to the claims

or defenses in this action. SaveOnSP will not produce such documents.

       SaveOnSP objects to producing the final SaveOnSP IPBC Video presentation because that

video is publicly available.

       SaveOnSP will not produce documents in response to this Request.

        REQUEST NO. 36: Annual Program Summary documents outlining the terms of the
SaveOnSP program for each participating health plan, including: (i) patient copay/coinsurance
requirements for each drug included in the program; (ii) the extent to which SaveOnSP would rely
on manufacturer copay assistance to cover the patient costs; (iii) patient copay/coinsurance re-
quirements after a manufacturer’s copay assistance has reached its maximum contribution for the
year; (iv) patient deductible requirements; (v) patient out-of-pocket maximum limits and what pa-
tient payments are accounted for in determining whether a patient has reached their out­ of-pocket
maximum; (vi) any other payment obligations for the patient.

       RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

       SaveOnSP objects to this Request because the term “Annual Program Summary docu-

ments” is undefined. SaveOnSP interprets this term to refer to annual health plan Summary Plan




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Descriptions, Summary of Benefits and Coverage documents, and annual open enrollment mate-

rials that reflect the advice that SaveOnSP provides to health plans. SaveOnSP does not collect or

maintain these documents in the ordinary course of its business

       SaveOnSP objects to the phrase “the extent to which SaveOnSP would rely on manufac-

turer copay assistance to cover the patient costs.” SaveOnSP is not a health plan and does not cover

patient costs. SaveOnSP interprets this Request to seek Summary Plan Descriptions, Summary of

Benefits and Coverage documents, and annual open enrollment materials regarding plan benefits

offered by plans advised by SaveOnSP under which a plan will cover any portion of a plan mem-

ber’s copay for a specialty drug if the plan member enrolls in a copay assistance program and

consents to SaveOnSP monitoring their pharmacy account on behalf of the plan.

       SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

       SaveOnSP is not aware of any Summary Plan Descriptions, Summary of Benefits and Cov-

erage documents, or annual open enrollment materials reflecting the advice that SaveOnSP pro-

vides to health plans that are within its possession, custody, or control. If SaveOnSP becomes

aware of any such documents in its possession, custody, or control, SaveOnSP will produce those

documents. SaveOnSP will anonymize references to the identities of health plans that have con-

tracted with SaveOnSP in such documents.

        REQUEST NO. 37: Any contracts between SaveOnSP and participating health plans re-
lated to drug pricing, and factors affecting plan or plan member payments to pharmacies or PBMs
for drugs included in the SaveOnSP program(s).




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          RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

          SaveOnSP objects to the term “drugs included in the SaveOnSP program” as undefined.

SaveOnSP interprets this term as meaning Janssen Drugs.

          SaveOnSP objects to the term “factors affecting plan or plan member payments to pharma-

cies or PBMs” for Janssen Drugs as not describing the documents sought with reasonable particu-

larity.

          SaveOnSP objects to this Request to the extent that it seeks documents relating to contracts

between SaveOnSP and health plans regarding drug pricing. SaveOnSP does not contract with

health plans regarding drug pricing.

          SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

          SaveOnSP will not produce documents in response to this Request.

         REQUEST NO. 38: All documents, including drafts and communications, concerning
SaveOnSP’s terms and negotiations with health plans and/or pharmacy benefit managers related
to their maximizer programs.

          RESPONSE: SaveOnSP objects to the terms “maximizer program” and “SaveOnSP’s

terms” as undefined.

          SaveOnSP objects to this Request as failing to identify the documents sought with reason-

able particularity.

          SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to
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outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

        SaveOnSP will not produce documents in response to this Request.

      REQUEST NO. 39: All documents, including drafts, and communications concerning
SaveOnSP’s terms and negotiations with pharmacies related to their maximizer program.

        RESPONSE: SaveOnSP objects to the terms “maximizer program” and “SaveOnSP’s

terms” as undefined.

        SaveOnSP objects to this Request as failing to identify the documents sought with reason-

able particularity.

        SaveOnSP will not produce documents in response to this Request.

      REQUEST NO. 40: All documents and communications providing information regarding
how SaveOnSP patients can be identified in the transaction/claims data.

        RESPONSE: SaveOnSP objects to the term “SaveOnSP patients.” SaveOnSP does not

have patients.

        SaveOnSP objects to the term “transaction/claims data” as undefined.

        SaveOnSP objects to this Request as failing to identify the documents sought with reason-

able particularity.

        SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of

that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

        SaveOnSP will not produce documents in response to this Request.

         REQUEST NO. 41: Data covering the period January 1, 2016 through the present on all
manufacturer copay assistance provided to either a pharmacy, PBM, or SaveOnSP for prescrip-
tions filled by SaveOnSP member patients, including: (i) manufacturer; (ii) brand name; (iii) Na-
tional Drug Code (“NOC”); (iv) recipient of manufacturer assistance; (v) patient identifier; (vi)


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pharmacy for relevant drug fill; (vii) pharmacy address; (viii) prescription number; (ix) prescrip-
tion fill date; (x) number of units; (xi) days of supply; (xii) unit of measure; (xiii) copay or coin-
surance amount; (xiv) coupon amount; and (xv) information on how these payments can be linked
to the transaction/claims data.

       RESPONSE: SaveOnSP objects to the phrase “manufacturer copay assistance provided

to … SaveOnSP.” SaveOnSP does not receive manufacturer copay assistance.

       SaveOnSP objects to this Request to the extent that it seeks data beyond that sufficient to

show the annual total amount of payments made by CarePath for Janssen Drugs for participants of

plans advised by SaveOnSP, as such data is irrelevant to the claims or defenses in this action.

SaveOnSP will not produce such data.

       SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of

that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

       SaveOnSP will produce data sufficient to show, for each Janssen Drug, the annual total

amount of payments made by CarePath for participants of plans advised by SaveOnSP.

        REQUEST NO. 42: Electronic prescription-level transaction data for all drug purchases
from January 1, 2016 through the present for all patients who at any point during that time frame
participated or did not participate in the SaveOnSP program, including:

       •   Information on parties to the prescription transaction, including: (i) pharmacy name;
           (ii) pharmacy address; (iii) patient identification; (iv) patient state of residence; (v)
           identifier for whether patient is on a SaveOnSP program; (vi) insurance/health plan
           name; (vii) insurance/health plan ID; (viii) type of insurance (e.g., commercial, Medi-
           care, Medicaid); (ix) insurance/health plan member ID; (x) insurance/health plan BIN
           number; (xi) insurance/health plan PCN number; (xii) insurance/health plan group
           name; and (xiii) insurance/health plan group number.

       •   Drug information for the prescription transaction, including: (i) product description
           (i.e., brand name); (ii) NDC; (iii) product form; (iv) product strength; (v) number of
           units; (vi) days of supply; (vii) units returned or otherwise affected by the transaction;
           (viii) unit of measure; (ix) date of prescription fill; (x) information sufficient to
           identify the type of transaction (e.g., a sale, a return, a discount, etc.); and (xi) any
           discounts, rebates, or other price adjustments or offsets.

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       •   Payment information for the prescription transaction, including: (i) total amount paid
           to the pharmacy for the prescription; (ii) patient copayment; (iii) patient coinsurance
           payment; (iv) patient deductible payment; (v) copay coupon/manufacturer assistance
           amount applied to the prescription cost; (vi) voucher amount; (vii) bridge benefit pay-
           ment; (viii) net consumer payment after subtracting co-pay, coinsurance, deductible,
           coupon, voucher, bridge benefit, and other assistance; (ix) insurance/health plan cost
           submitted; and (x) insurance/health plan amount paid to pharmacy.

       RESPONSE: SaveOnSP objects to the term “SaveOnSP Program,” because there is no

“SaveOnSP Program” as defined in the Requests. SaveOnSP interprets this term to mean the ser-

vices that it provides to health plans.

       SaveOnSP objects to this Request to the extent that it seeks data beyond that sufficient to

show the annual total amount of payments made by CarePath for Janssen Drugs for participants of

plans advised by SaveOnSP, as such data is irrelevant to the claims or defenses in this action.

SaveOnSP will not produce such data.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all prescription-level transaction data for all drug purchases from January 1, 2016

through the present for all patients. The burden and expense of producing all such data outweighs

the marginal relevance of the material requested. SaveOnSP will not produce all such data.

       SaveOnSP objects to producing the identities of plan participants or health plans which

have contracted with SaveOnSP because such information is not sufficiently relevant and neces-

sary to JJHCS’s case to outweigh the harm that disclosure of that information could cause to Save-

OnSP, plan participants, and health plans. SaveOnSP will not produce such information.

       SaveOnSP will produce data sufficient to show, for each Janssen Drug, the annual total

amount of payments made by CarePath for participants of plans advised by SaveOnSP.




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         REQUEST NO. 43: All documents and communications relating to how SaveOnSP oper-
ates in jurisdictions with statutes or regulations that ban or limit accumulator adjustment programs.

         RESPONSE: SaveOnSP objects to this Request as not describing the requested docu-

ments with reasonable particularity. JJHCS does not define “accumulator adjustment programs”

and does not identify the statutes or regulations that it believes ban or limit such programs.

         SaveOnSP objects to this Request to the extent that it seeks documents relating to how

statutes or regulations apply to SaveOnSP, as such documents are irrelevant to the claims or de-

fenses in this action.

         SaveOnSP will not produce documents in response to this Request.

       REQUEST NO. 44: All documents and communications relating to Drug Lists featuring
Janssen medications.

         RESPONSE: SaveOnSP interprets the phrase “Janssen medications” to mean Janssen

Drugs.

         SaveOnSP objects to this Request to the extent that it seeks documents beyond those which

reflect advice provided by SaveOnSP to health plans, including internal communications concern-

ing that advice, as such documents are irrelevant to the claims or defenses in this action. SaveOnSP

will not produce such documents.

         SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

that it seeks all documents and communications relating to Drug Lists featuring Janssen Drugs

beyond those identified during a reasonable search. The burden and expense of producing all such

documents outweighs the marginal relevance of the material requested. SaveOnSP will not pro-

duce all such documents.

         SaveOnSP objects to producing the identities of health plans that have contracted with

SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to



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outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

and health plans. SaveOnSP will not produce such information.

         SaveOn will produce Drug Lists featuring Janssen medications and documents and com-

munications reflecting advice from SaveOnSP to health plans concerning such Drug Lists identi-

fied during a reasonable search. SaveOnSP will anonymize references to the identities of health

plans that have contracted with SaveOnSP in such documents.

        REQUEST NO. 45: All documents and communications relating to studies, reports, pub-
lications, analyses, research, white papers, reviews, or other written work product that SaveOnSP
has created, commissioned, paid for, sponsored, or otherwise procured or supported regarding (i)
specialty medication costs, (ii) copayment and coinsurance rates, (iii) accumulator programs, (iv)
maximizer programs, or (v) strategies to manage specialty medication costs.

         RESPONSE: SaveOnSP objects to the phrases “accumulator programs” and “maximizer

programs” as undefined.

         SaveOnSP objects to this Request to the extent that it seeks documents other than publicly

disseminated studies, reports, publications, analyses, research, white papers, or reviews relating to

the services SaveOnSP provides to health plans, as such documents are irrelevant to the claims

and defenses in this action. SaveOnSP will not produce such documents.

         SaveOnSP will produce publicly disseminated studies, reports, publications, analyses, re-

search, white papers, or reviews relating to relating to the services SaveOnSP provides to health

plans.

        REQUEST NO. 46: All documents and communications relating to SaveOnSP’s assess-
ment of copayments for Plan Members taking Janssen medication where (i) the Plan Member uses
the entire annual allotment of CarePath funds for a given Janssen medication after enrolling in the
SaveOnSP Program and (ii) the Plan Member subsequently switches to insurance coverage under
a new Payor that does not participate in the SaveOnSP Program before the year ends.

         RESPONSE: SaveOnSP objects to this Request because there is no “SaveOnSP Program”

as defined in the Requests. SaveOnSP interprets this term to mean the services that it provides to

health plans.

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       SaveOnSP objects to this Request because it seeks documents that are irrelevant to the

claims or defenses in this action.

       SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

it seeks all documents responsive to the Request beyond those identified by a reasonable search.

The burden and expense of producing all such documents outweighs the marginal relevance of the

material requested. SaveOnSP will not produce such documents.

       SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of

that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

       SaveOnSP will not produce documents in response to this Request.

       REQUEST NO. 47: The SaveOnSP website (https://saveonsp.com) as it existed both be-
fore and after the changes made by SaveOnSP in or about September 2022.

       RESPONSE: SaveOnSP will produce documents in response to this Request.

        REQUEST NO. 48: All documents and communications relating to, including the reasons
for, the changes made to the SaveOnSP website (https://saveonsp.com) in or about September
2022.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents be-

yond those sufficient to show any changes made to the SaveOnSP website in or about September

2022 and the reasons for those changes, as such documents are irrelevant to the claims or defenses

in this action or cumulative. SaveOnSP will not produce such documents.

       SaveOnSP will produce documents sufficient to show any changes made to the SaveOnSP

website in or about September 2022 and the reasons for those changes.




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       REQUEST NO. 49: All documents and communications relating to why the Frequently
Asked Question “How will our plan see savings generated?” and its corresponding answer refer-
encing “classifying certain specialty drugs as Non-Essential Health Benefits (NEBMs)” was re-
moved from the SaveOnSP website (https://saveonsp.com) in or about September 2022.

       RESPONSE: SaveOnSP objects to this Request to the extent that it seeks documents be-

yond those sufficient to show why the cited FAQ was removed from the SaveOnSP website in or

about September 2022 and the reasons for that removal, as such documents are irrelevant to the

claims or defenses in this action or cumulative. SaveOnSP will not produce such documents.

       SaveOnSP will produce documents sufficient to show why the cited FAQ was removed

from the SaveOnSP website in or about September 2022.

       REQUEST NO. 50: Documents and communications sufficient to identify the individuals
involved in making the changes made to the SaveOnSP website (https://saveonsp.com) in or about
September 2022, and their respective roles in making those changes.

       RESPONSE: SaveOnSP will produce documents in response to this Request.

        REQUEST NO. 51: All documents and communications relating to steps taken by Save-
OnSP, or any Entity associated with SaveOnSP, to determine the remaining CarePath funds avail-
able to a given Plan Member, including the submission of a false prescription claim charged to
CarePath for the purpose of determining the remaining CarePath funds available to a given Plan
Member.

       RESPONSE: SaveOnSP objects to the phrase “submission of false prescription claim

charged to CarePath for the purpose of determining the remaining CarePath funds available to a

given Plan Member.” SaveOnSP is not aware of any false prescription claims charged to CarePath

for the purpose of determining the remaining CarePath funds available to a given Plan Member.

       SaveOnSP objects to this Request to the extent that it seeks documents beyond those suf-

ficient to show how SaveOnSP determines the CarePath funds available to members of plans that

it advises, as they are cumulative. SaveOnSP will not produce such documents.

       SaveOnSP objects to producing the identities of plan participants because such information

is not sufficiently relevant and necessary to JJHCS’s case to outweigh the harm that disclosure of


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that information could cause to SaveOnSP, plan participants, and health plans. SaveOnSP will not

produce such information.

       SaveOnSP will produce documents sufficient to show how SaveOnSP determines the Care-

Path funds available to members of plans that it advises.

        REQUEST NO. 52: Documents sufficient to show SaveOnSP’s liquidity, debt, profits,
losses, revenues, costs, EBITDA, and assets throughout the Time Period, including financial state-
ments or financial analyses.

       RESPONSE: SaveOnSP objects to this Request because it seeks documents that are irrel-

evant to the claims or defenses in this action.

       SaveOnSP will not produce documents in response to this Request.



Dated: November 23, 2022                          By: /s/ Andrew R. Dunlap
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